    Case 3:12-cr-00133-JJB-EWD   Document 351   08/06/14   Page 1 of 6



                    UNITED STATES DISTRICT COURT

                    MIDDLE DISTRICT OF LOUISIANA



UNITED STATES OF AMERICA

VERSUS                                      CRIMINAL ACTION

TYRONE SMITH                                NUMBER 12-133-JJB-SCR


                                 NOTICE

     Please take notice that the attached Magistrate Judge’s Report
has been filed with the Clerk of the U. S. District Court.
     In accordance with 28 U.S.C. §636(b)(1), you have 14 days
after being served with the attached report to file written
objections to the proposed findings of fact, conclusions of law,
and recommendations set forth therein. Failure to file written
objections   to    the   proposed    findings,   conclusions    and
recommendations within 14 days after being served will bar you,
except upon grounds of plain error, from attacking on appeal the
unobjected-to proposed factual findings and legal conclusions
accepted by the District Court.

     ABSOLUTELY NO EXTENSION OF TIME SHALL BE GRANTED TO FILE
WRITTEN OBJECTIONS TO THE MAGISTRATE JUDGE'S REPORT.

     Baton Rouge, Louisiana, August 6, 2014.



                                  STEPHEN C. RIEDLINGER
                                  UNITED STATES MAGISTRATE JUDGE
       Case 3:12-cr-00133-JJB-EWD       Document 351     08/06/14    Page 2 of 6



                       UNITED STATES DISTRICT COURT

                       MIDDLE DISTRICT OF LOUISIANA



UNITED STATES OF AMERICA

VERSUS                                             CRIMINAL ACTION

TYRONE SMITH                                       NUMBER 12-133-JJB-SCR


                         MAGISTRATE JUDGE’S REPORT

       Before the court is the Motion Under 28 U.S.C. § 2255 to

Vacate, Set Aside, or Correct Sentence by a Person in Federal

Custody filed by petitioner Tyrone Smith.                Record document number

324.

       For the reasons which follow, the petitioner’s § 2255 motion

should be denied.

                           I. Procedural History

       On September 25, 2013, the petitioner pled guilty to one count

Conspiracy     to   Distribute      and   to   Possess    with      the   Intent   to

Distribute Cocaine in violation of 21 U.S.C. § 846.                  On January 9,

2014, the petitioner was sentenced to imprisonment for a term of 60

months.     Petitioner did not appeal his conviction or sentence.

       Petitioner signed his § 2255 motion in May 2014, and it was

filed on June 9, 2014.           Petitioner asserted that he was denied

effective assistance of counsel and relied on the decisions in

Lafler v. Cooper,                U.S.          , 132 S.Ct. 1376 (2012) and

Missouri v. Frye,           U.S.          , 132 S.Ct. 1399 (2012) in support
    Case 3:12-cr-00133-JJB-EWD   Document 351   08/06/14    Page 3 of 6



of his ineffective assistance of counsel claim.

     Petitioner’s § 2255 motion was filed timely.          No evidentiary

hearing is required.


                  II. Applicable Law and Analysis

     A. Grounds for § 2255 Motion

     There are four grounds upon which a federal prisoner may move

to vacate, set aside, or correct his sentence: (1) the sentence was

imposed in violation of the Constitution or laws of the United

States; (2) the court was without jurisdiction to impose the

sentence; (3) the sentence exceeds the statutory maximum sentence;

and, (4) the sentence is otherwise subject to collateral attack.

28 U.S.C. § 2255; Hill v. United States, 368 U.S. 424, 426-27, 82

S.Ct. 468, 470-71 (1962).

     B. Ineffective Assistance of Counsel

     In Grounds One and Two, the petitioner argued that he was

denied effective assistance of counsel but offered no factual basis

to support his claim.

     To obtain relief based upon a claim of ineffective assistance

of counsel, the petitioner must show “that counsel’s performance

was deficient” and “that the deficient performance prejudiced the

defense.”   Strickland v. Washington, 466 U.S. 668, 687, 104 S.Ct.

2052, 2064 (1984).    To prove deficient performance the petitioner

must demonstrate that counsel’s actions “fell below an objective



                                   2
    Case 3:12-cr-00133-JJB-EWD   Document 351     08/06/14    Page 4 of 6



standard of reasonableness.”     Id., at 688, 104 S.Ct. at 2064.             To

prove   prejudice,   the   petitioner   must    show   that   “there    is   a

reasonable probability that, but for counsel’s unprofessional

errors, the result of the proceeding would have been different,”

id., at 694, 104 S.Ct. at 2068, and that “counsel’s deficient

performance render[ed] the result of the trial unreliable or the

proceeding fundamentally unfair.”       Lockhart v. Fretwell, 506 U.S.

364, 372, 113 S.Ct. 838, 844 (1983).

     The same test applies when a petitioner alleges ineffective

assistance of counsel in the context of a guilty plea.               Hill v.

Lockhart, 474 U.S. 52, 58, 106 S.Ct. 366, 370 (1985).            To satisfy

the second prong of this test, the petitioner must show that “there

is reasonable probability that, but for counsel’s errors, he would

not have pleaded guilty and would have insisted on going to trial.”

Hill, 474 U.S. at 59, 106 S.Ct. at 370.           To meet the prejudice

prong, the defendant must affirmatively prove, and not merely

allege, prejudice.    Bonvillain v. Blackburn, 780 F.2d 1248, 1253

(5th Cir. 1986).

     A defendant must satisfy both prongs of the Strickland test

to succeed on an ineffective assistance of counsel claim.                   See

Strickland, 466 U.S. at 697, 104 S.Ct. at 2069.              A court is not

required to address these prongs in any particular order.            Id.     If

it is possible to dispose of an ineffective assistance of counsel

claim without addressing both prongs, “that course should be


                                   3
    Case 3:12-cr-00133-JJB-EWD   Document 351     08/06/14    Page 5 of 6



followed.”   Id.

     In   Lafler   and   Frye,   the    Supreme   Court      clarified      the

applicability of the Sixth Amendment right to effective assistance

of counsel to the plea bargaining process.         In Lafler, the Court

affirmed that the Strickland test applies to ineffective assistance

of counsel claims when counsel’s ineffective advice causes a

defendant to reject a favorable plea offer, and the defendant is

subjected to a less favorable outcome in further trial proceedings.

132 S.Ct. at 1383. In Frye, the companion case, the Court affirmed

that the Strickland test applies to ineffective assistance of

counsel claims arising from counsel’s failure to communicate a plea

offer before it expires.     132 S.Ct. at 1408-10.

     Petitioner did not alleged any facts which could show that the

holdings in Lafler or Frye are applicable in this case. Petitioner

did not allege that counsel failed to inform him of any plea offer

or failed to provide him with accurate advice which caused him to

reject a favorable plea offer.1        Petitioner’s bald,       unsupported

allegation that he was denied effective assistance of counsel

during plea negotiations is insufficient to create a factual issue

regarding whether the petitioner was denied his constitutional

right to effective assistance of counsel.




     1
      Petitioner pled guilty pursuant to a Plea Agreement.            Record
document numbers 156 and 159.

                                   4
    Case 3:12-cr-00133-JJB-EWD   Document 351   08/06/14   Page 6 of 6



                            RECOMMENDATION

     It is the recommendation of the magistrate judge that the

petitioner’s Motion Under 28 U.S.C. § 2255 to Vacate, Set Aside, or

Correct Sentence by a Person in Federal Custody be denied.

     Baton Rouge, Louisiana, August 6, 2014.



                                  STEPHEN C. RIEDLINGER
                                  UNITED STATES MAGISTRATE JUDGE




                                   5
